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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 WAKEESHA N. MOODY.
                                                                            Civil Action No.
                                                         Plaintiff,   6:07-cv-06398 (MAT/MWP)

                   v.                                                 DEFENDANTS' MOTION
                                                                      FOR LEAVE TO FILE A
 CSX TRANSPORTATION, INC. et al.                                           SURREPLY

                                                      Defendants.




           Defendants CSX Transportation Inc., New York Central Lines, LLC, and NYC Newco,

Inc. (collectively "CSXT") hereby move this Court for an order granting them leave to file the

attached Surreply in opposition to Plaintiff Wakeesha Moody's ("Plaintiff) motion for

spoliation sanctions. In seeking this leave, CSXT asks for the opportunity to address certain

points addressed in Plaintiffs Reply to Defendants' Opposition to the Motion for Spoliation

Sanctions ("Reply").

           In CSXT's opposition to the motion for spoliation sanctions (Dkt.81, 81-1), it detailed the

process the railroad follows when downloading event recorder data from a locomotive for

transfer to the CSXT "vault" and explained the error that caused that process to fail to deliver

one data file from Train Q627 to the vault. See id. In her Reply, Plaintiff now contends in light

of those facts that CSXT breached a duty to double-check uploads to the vault that Plaintiff

scarcely addressed—if at all—in the initial spoliation motion. Plaintiff also contends that CSXT

had a duty to "confirm" that all of the uploaded data were in the vault prior to discarding the

crashed laptop that Mr. Lewandowski had used to download the data in the first instance. CSXT

seeks to respond briefly to these new duty arguments.




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           Plaintiffs Reply also suggests that new Federal Rule of Civil Procedure 37(e) should not

apply to her motion because this case was pending before the new rule was adopted and because

the laptop is "tangible" (as opposed to electronic) evidence. These contentions also warrant a

brief response from CSXT.

           Because the Court has indicated that there will be no oral argument on any of the pending

motions,1 absent this Surreply, CSXT will not have an opportunity to address these issues.

Accordingly, in the interests of justice, CSXT respectfully requests the opportunity to be heard

through the filing of this Surreply. A copy of the Defendants' proposed Surreply is attached

hereto as Exhibit A.

           WHEREFORE, the Defendants respectfully request that the Court grant them leave to

file the attached Surreply to the Plaintiffs' Reply to the spoliation motion.

DATED:             Buffalo, New York
                   June 7,2016
                                                      NIXON PEABODY LLP

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      Those motions include CSXT's motions (1) for summary judgment (2) to exclude Plaintiffs expert Stephen
      Timko. and (3) to strike the affidavits of Plaintiff, her counsel and her expert served in opposition to the
      motions for summary judgment and to exclude; and Plaintiffs spoliation motion.




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